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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY


                                               Master File No. 17-8373 (RBK/AMD)

  In re NAVIENT CORPORATION                    ORDER GRANTING PRELIMINARY
  SECURITIES LITIGATION                        APPROVAL OF SETTLEMENT




        WHEREAS, a consolidated class action is pending before the Court entitled

  In re Navient Corporation Securities Litigation, Case No. 1:17-CV-08373-RBK-

  AMD;

        WHEREAS, (a) Class Representative Jesse Wayne Pritchard, individually

  and on behalf of the Settlement Class, and (b) defendants Navient Corporation

  (“Navient”), John F. Remondi, Christian M. Lown, and Somsak Chivavibul

  (collectively, “Defendants”; and together with the Class Representative, the

  “Parties”) have determined to settle all claims asserted against Defendants in this

  Action with prejudice on the terms and conditions set forth in the Stipulation and

  Agreement of Settlement dated November 16, 2021 (the “Stipulation”) subject to the

  approval of this Court (the “Settlement”);
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        WHEREAS, the Court having reviewed and considered Plaintiff’s unopposed

  Motion for Preliminary Approval of Class Action Settlement and Notice to the

  Settlement Class (the “Motion”); as well as all papers submitted in support thereof;

  the proposed Settlement as set forth in the Stipulation, which, together with the

  Exhibits annexed thereto, sets forth the terms and conditions of a proposed

  settlement of the above-captioned Litigation, dismissing the Defendants with

  prejudice upon the terms and conditions set forth therein; a copy of which has been

  submitted with the Motion and the terms of which are incorporated herewith; and all

  other prior proceedings in this Litigation; and good cause for this Order having been

  shown:

        NOW, THEREFORE, IT IS HEREBY ORDERED:

        1.       The provisions of the Stipulation, including definitions of the terms

  used therein, are hereby incorporated by reference as though fully set forth herein.

  All capitalized terms used herein have the meanings set forth and defined in the

  Stipulation.

        2.       This Court has jurisdiction over the subject matter of this Litigation and

  over all parties to this Litigation, including Settlement Class Members.

        3.       The Court preliminarily approves the Settlement and the proposed Plan

  of Allocation described in the Notice as fair, reasonable and adequate as to all

  Settlement Class Members, pending a final settlement and fairness hearing (the



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  “Settlement Hearing”). The Court preliminarily finds that the proposed Settlement

  should be approved as: (i) the result of serious, extensive arm’s-length and non-

  collusive negotiations; (ii) falling within a range of reasonableness warranting final

  approval; (iii) having no obvious deficiencies; (iv) not improperly granting

  preferential treatment to the Lead Plaintiff or segments of the Settlement Class; and

  (v) warranting notice of the proposed Settlement at the Settlement Hearing described

  below.

        4.     The Court approves the appointment of Signature Bank as the Escrow

  Agent to manage the Escrow Account for the benefit of the Settlement Class.

        5.     The Court approves the appointment of A.B. Data, Ltd. as the Claims

  Administrator to supervise and administer the notice procedure and the processing

  of claims.

        6.     The Court orders the stay of any pending litigation and enjoins the

  initiation of any new litigation by any Settlement Class Member in any court,

  arbitration, or other tribunal that includes any Released Claims against the Released

  Parties.

        7.     The Court hereby approves, as to form and content, the proposed Notice

  and Postcard Notice, substantially in the forms annexed hereto as Exhibits A-1 and

  A-4, and directs that as soon as practicable after entry of this Order, but no later than

  fourteen (14) days after entry of this Order granting preliminary approval, that the



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  Settlement Administrator publish the Notice on a website to be maintained by the

  Claims Administrator and provide the Postcard Notice to each known Settlement

  Class Member via first class U.S. mail, postage pre-paid. Navient shall cooperate in

  the identification of Settlement Class Members by producing reasonably available

  information from its shareholder transfer records or transfer agent. The Claims

  Administrator shall file with the Court proof of mailing of the Notice seven (7) days

  prior to the Settlement Hearing.

        8.     Banks, brokerage firms, institutions, and other persons who are

  nominees who purchased or otherwise acquired Navient common stock for the

  beneficial interest of other persons during the Settlement Class Period are directed

  to, within ten (10) days after receipt of the Notice: either (a) send the Notice and the

  Proof of Claim form to all beneficial owners of Navient common stock purchased or

  otherwise acquired during the Class Period; or (b) send a list of the names and

  addresses of such beneficial owners to the Claims Administrator.             Upon full

  compliance with these directions, such nominees may seek reimbursement of their

  reasonable expenses actually incurred up to a maximum of $0.15 per name and

  address provided to the Claims Administrator and up to $0.15 per Notice actually

  mailed, plus postage at the rate used by the Claims Administrator. The Claims

  Administrator shall provide the Notice to each Settlement Class Member identified

  through point (b) of this Paragraph via first class U.S. mail, postage pre-paid, no



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  later than sixty (60) days prior to the Settlement Hearing.

        9.     The cost of providing the Notice to the Settlement Class as specified in

  this Order shall be paid as set forth in the Stipulation.

        10.    The Court hereby approves, as to form and content, the proposed form

  Publication Notice, substantially in the form annexed hereto as Exhibit A-3, and

  directs that within twenty-one (21) days after entry of this Order granting

  preliminary approval the Claims Administrator shall cause such Publication Notice

  to be published on a national business newswire. The Claims Administrator shall

  file with the Court proof of publication of the Publication Notice seven (7) days prior

  to the Settlement Hearing.

        11.    The Court approves the proposed Proof of Claim substantially in the

  form of Exhibit A-2 hereto.

        12.    The Court orders that the Notices, Proof of Claim form, Stipulation of

  Settlement and all papers submitted in support thereof be posted to a website to be

  maintained by the Claims Administrator.

        13.    This Court preliminarily finds that the distribution of the Notice and the

  publication of the Publication Notice, and the notice methodology, contemplated by

  the Stipulation and this Order:

                   (a)   Constitute the best practicable notice to Settlement Class

        Members under the circumstances of this Action;



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                  (b)   Are reasonably calculated, under the circumstances, to apprise

        Settlement Class Members of: (i) the proposed Settlement of this Action; (ii)

        their right to exclude themselves from the Settlement Class; (iii) their right to

        object to any aspect of the proposed Settlement; (iv) their right to appear at

        the Settlement Hearing, either on their own or through counsel hired at their

        own expense, if they did not exclude themselves from the Settlement Class;

        and (v) the binding effect of the proceedings, rulings, orders, and judgments

        in this Action, whether favorable or unfavorable, on all persons not excluded

        from the Settlement Class;

                  (c)   Are reasonable and constitute due, adequate, and sufficient

        notice to all persons entitled to be provided with notice; and

                  (d)   Fully satisfy all applicable requirements of the Federal Rules

        of Civil Procedure (including Rules 23(c) and (d)), the United States

        Constitution (including the Due Process Clause), the Securities Exchange Act

        of 1934, 15 U.S.C. § 78u-4(a)(7), the Private Securities Litigation Reform Act

        of 1995, the Rules of Court, and any other applicable law.

        14.    Settlement Class Members who wish to participate in the Settlement

  shall complete and submit the Proof of Claim and Release form in accordance with

  the instructions contained in the Notice. Unless the Court orders otherwise, all Proof

  of Claim and Release forms must be submitted no later than one hundred twenty



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  (120) days after entry of this Order.

        15.    Any Settlement Class Member who does not submit a Proof of Claim

  and Release within the time provided shall be barred from sharing in the distribution

  of the proceeds of the Net Settlement Fund, unless otherwise ordered by the Court,

  but shall nevertheless be bound by any final judgment entered by the Court.

  Notwithstanding the foregoing, Lead Counsel shall have the discretion to accept late-

  submitted claims for processing by the Claims Administrator so long as distribution

  of the Net Settlement Fund is not materially delayed thereby.

        16.    Any person falling within the definition of the Settlement Class may

  seek to be excluded from the Settlement Class by submitting to the Settlement

  Administrator a request for exclusion (“Request for Exclusion”), which complies

  with the requirements set forth in the Notice and is postmarked no later than twenty-

  eight (28) days prior to the Settlement Hearing. Any Request for Exclusion that does

  not supply the information required by this Paragraph 16 shall be rejected, and any

  such Settlement Class Member shall be bound by the Stipulation and any judgment

  entered in connection therewith.

        17.    All persons who submit valid and timely Requests for Exclusion shall

  have no rights under the Stipulation, shall not share in the distribution of the Net

  Settlement Fund, and shall not be bound by the Settlement Stipulation or the

  Judgment. However, a Settlement Class Member may submit a written revocation



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  of a Request for Exclusion up until seven (7) days prior to the date of the Settlement

  Hearing and still be eligible to receive payments pursuant to the Stipulation provided

  the Settlement Class Member also submits a valid Proof of Claim prior to the

  Settlement Hearing (the “Bar Date”).

        18.    Unless otherwise ordered by the Court, the Court stays all proceedings

  in the Action other than proceedings necessary to carry out or enforce the terms and

  conditions of the Stipulation. Pending final determination of whether the Settlement

  should be approved, the Court bars and enjoins the Class Representative, and all

  other members of the Settlement Class, from commencing or prosecuting any and

  all of the Released Plaintiffs’ Claims against each and all of the Defendants’ Related

  Parties.

        19.    The Settlement Hearing shall take place before the undersigned, United

  States District Judge Robert B. Kugler in Courtroom 4D at the Mitchell H. Cohen

  Building & U.S. Courthouse, 4th & Cooper Streets, Camden, New Jersey 08101, on

  April 12, 2022 at 3:00 PM, to determine:

                  (a)   Whether the Settlement, on the terms and conditions provided

        for in the Stipulation, should be finally approved by the Court as fair,

        reasonable, and adequate;

                  (b)   Whether the Litigation should be dismissed on the merits and

        with prejudice as to the Defendants;



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                  (c)   Whether the Court should permanently enjoin the assertion of

        any claims that arise from or relate to the subject matter of the Litigation;

                  (d)   Whether the application for attorneys’ fees and expenses to be

        submitted by Lead Counsel should be approved;

                  (e)   Whether the Plan of Allocation is fair and reasonable to the

        members of the Settlement Class;

                  (f)   Whether the application for a Compensatory Award to be

        submitted on behalf of Lead Plaintiff and Class Representative Jesse Wayne

        Pritchard should be approved; and

                  (g)   Such other matters as the Court may deem necessary or

        appropriate.

        20.   The Court may finally approve the Stipulation at or after the Settlement

  Hearing with any modifications agreed to by the parties and without further notice

  to the Settlement Class Members.

        21.   Lead Counsel and/or Defendants’ Counsel shall submit papers in

  support of the Settlement, Plan of Allocation and Award of Attorney Fees and

  Expenses, and Lead Plaintiff’s Compensatory Awards no later than thirty-five (35)

  days prior to the Settlement Hearing.

        22.   Any Settlement Class Member and any other interested person may

  appear at the Settlement Hearing in person or by counsel and be heard, to the extent



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  allowed by the Court, either in support of or in opposition to the matters to be

  considered at the hearing; provided, however, that no person shall be heard, and no

  papers, briefs, or other submissions shall be considered by the Court in connection

  to such matters, unless no later than twenty-eight (28) days before the Settlement

  Hearing, such person files with the Court a statement of objection setting forth: (i)

  whether the person is a Settlement Class Member; (ii) to which part of the Stipulation

  the Settlement Class Member objects; (iii) the specific reason(s), if any, for such

  objection including any legal support the Settlement Class Member wishes to bring

  to the Court’s attention. Such Settlement Class Member shall also provide

  documentation sufficient to establish the amount of Navient Corporation common

  stock purchased, acquired and sold from January 18, 2017 through November 20,

  2018 (including the number of shares, dates, and prices). Failure to provide such

  information and documentation shall be grounds to void the objection.

        23.    All papers in response to objections or otherwise in support of the

  Settlement and related matters shall be filed fourteen (14) days prior to the

  Settlement Hearing.

        24.    Defendants shall have no responsibility for the Plan of Allocation or

  any Fee and Expense Application, and such matters will be considered separately

  from the fairness, reasonableness, and adequacy of the Stipulation.

        25.    At or after the Settlement Hearing, the Court shall determine whether



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  the Plan of Allocation and any Fee and Expense Application proposed by Lead

  Counsel should be approved.

        26.    All reasonable expenses incurred in identifying and notifying

  Settlement Class Members as well as administering the Settlement Fund shall be

  paid as set forth in the Stipulation. The Court may adjourn the Settlement Hearing,

  including the consideration of the motion for attorneys’ fees and expenses, without

  further notice of any kind other than an announcement of such adjournment in open

  court at the Settlement Hearing or any adjournment thereof. The contents of the

  Settlement Fund held by Signature Bank (which the Court approves as the Escrow

  Agent), shall be deemed and considered to be in custodia legis of the Court, and

  shall remain subject to the jurisdiction of the Court, until such time as they shall be

  distributed pursuant to the Stipulation and/or further order(s) of the Court.

        27.    If the Settlement is approved, all Settlement Class Members will be

  bound by the terms of the Settlement as set forth in the Stipulation, and by any

  judgment or determination of the Court affecting the Settlement Class, regardless of

  whether or not a Settlement Class Member submits a Proof of Claim. Any member

  of the Settlement Class who fails to opt out of the Settlement Class or who fails to

  object in the manner prescribed therein shall be deemed to have waived, and shall

  be foreclosed forever from raising objections or asserting any claims arising out of,




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  related to, or based in whole or in part on any of the facts or matters alleged, or which

  could have been alleged, or which otherwise were at issue in the Action.

        28.    Upon payment of the Settlement consideration to the Escrow Account

  by Defendants, the Settlement Fund shall be deemed to be in the custody of the Court

  and shall remain subject to the jurisdiction of the Court until such time as the

  Settlement Fund is distributed or returned to Defendants pursuant to the Stipulation

  and/or further order of this Court. There shall be no distribution of any part of the

  Net Settlement Fund to the Settlement Class until the Plan of Allocation is finally

  approved.

        29.    Except for the obligation to cooperate in the production of reasonably

  available information with respect to the identification of Class Members from

  Navient’s shareholder transfer records, in no event shall Defendants have any

  responsibility for the administration of the Settlement, and Defendants shall not have

  any obligation or liability to Plaintiffs in connection with such administration.

        30.    No Person shall have any claim against the Released Parties, the Claims

  Administrator, the Escrow Agent or any other agent designated by Lead Counsel

  based on distribution determinations or claim rejections made substantially in

  accordance with this Stipulation and the Settlement, the Plan of Allocation, or further

  orders of the Court, except in the case of fraud or willful misconduct. No person

  shall have any claim under any circumstances against the Released Parties, based on



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  any distributions, determinations, claim rejections or the design, terms, or

  implementation of the Plan of Allocation.

        31.    The Defendants have denied, and continue to deny, any and all

  allegations and claims asserted in the Litigation, and the Defendants have

  represented that they entered into the Settlement solely to eliminate the burden,

  expense, and uncertainties of further litigation.

        32.    Neither the Stipulation, nor any of its terms or provisions, nor any of

  the negotiations or proceedings connected with it, shall be construed as an admission

  or concession by Defendants of the truth of any of the allegations in the Litigation,

  or of any liability, fault, or wrongdoing of any kind.

        33.    The Released Parties, and each of their counsel may file the Stipulation

  and/or the Order and Final Judgment in any action that may be brought against them

  in order to support a defense or counterclaim based on the principles of res judicata,

  collateral estoppel, release, good faith settlement, judgment bar or reduction of any

  other theory of claim preclusion or issues preclusion or similar defense or

  counterclaim.

        34.    In the event that the Settlement does not become effective in accordance

  with the terms of the Stipulation, this Order shall be rendered null and void to the

  extent provided by and in accordance with the Stipulation and shall be vacated, and

  in such event, all orders entered and releases delivered in connection therewith shall



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  be null and void to the extent provided by and in accordance with the Settlement,

  and without prejudice to the rights of the parties to the Stipulation before it was

  executed.

        35.    The Court reserves the right to alter the time or the date of the

  Settlement Hearing without further notice to the Settlement Class Members,

  provided that the time or the date of the Settlement Hearing shall not be set at a time

  or date earlier than the time and date set forth above, and retains jurisdiction to

  consider all further applications arising out of or connected with the settlement.



         SO ORDERED in the District of New Jersey on November 22, 2021.



                                          /s/ Robert B. Kugler
                                          THE HON. ROBERT B. KUGLER
                                          UNITED STATES DISTRICT JUDGE




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